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                        IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
GINO FRACCHIOLLA                        :
305 Coronado Ave.                       :
Long Beach, CA 90814                    :
                                        :    CIVIL ACTION
               Plaintiff,               :
        v.                              :    No.:
                                        :
HIRE MY TEAM, LLC                       :
1635 Market St.                         :
Philadelphia, PA 19103                  :
        and                             :    JURY TRIAL DEMANDED
HIRE MY AGENCY, LLC                     :
1635 Market St.                         :
Philadelphia, PA 19103                  :
        and                             :
DIGITAL CANDY, LLC                      :
1635 Market St.                         :
Philadelphia, PA 19103                  :
        and                             :
DIGITAL EQUITY, LLC                     :
1635 Market St.                         :
Philadelphia, PA 19103                  :
        and                             :
ADETUNJI THOMAS-QUARCOO                 :
a/k/a Thomas Parker                     :
1635 Market St.                         :
Philadelphia, PA 19103                  :
        and                             :
SANTOS GONZALEZ                         :
a/k/a Jay Gonzales                      :
1635 Market St.                         :
Philadelphia, PA 19103                  :
                                        :
               Defendants.              :
____________________________________:

                             CIVIL ACTION COMPLAINT

     Plaintiff, by and through his undersigned counsel, hereby avers as follows:
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                                     I.      INTRODUCTION

        1.      This action has been initiated by Gino Fracchiolla (hereinafter referred to as

“Plaintiff,” unless indicated otherwise) against Hire My Team, LLC, Hire My Agency, LLC,

Digital Candy, LLC, Digital Equity, LLC, Adetunji Thomas-Quarcoo, and Santos Gonzalez

(hereinafter collectively referred to as “Defendants”) for violations of the Fair Labor Standards

Act (“FLSA” - 29 U.S.C. §§ 201 et. seq.), the Pennsylvania Minimum Wage Act (“PMWA” - 43

P.S. §§ 333.101—333.115), the Pennsylvania Wage Payment and Collection Law (“PWCL” - 43

P.S. §§ 260.1 et. seq.), Title 9 of the Philadelphia Code, the Wage Theft Ordinance, and other

applicable state law(s). As a direct consequence of Defendants’ unlawful actions, Plaintiff seeks

damages as set forth herein.

                               II.    JURISDICTION AND VENUE

        2.      This Court, in accordance with 28 U.S.C. § 1331, has jurisdiction over Plaintiff’s

claims because this civil action arises under laws of the United States. There lies supplemental

jurisdiction over Plaintiff’s state-law claims because they arise out of the same common nucleus

of operative facts as Plaintiff’s federal claims set forth herein.

        3.      This Court may properly maintain personal jurisdiction over Defendants because

Defendants’ contacts with this state and this judicial district are sufficient for the exercise of

jurisdiction over Defendants to comply with traditional notions of fair play and substantial

justice, satisfying the standard set forth by the United States Supreme Court in International Shoe

Co. v. Washington, 326 U.S. 310 (1945) and its progeny.

        4.      Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2), venue is properly laid in this

district because Defendants are deemed to reside where they are subject to personal jurisdiction




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(rendering Defendants residents of the Eastern District of Pennsylvania) and for the reasons

listed below:

                a. Plaintiff’s direct supervisors (the individuals responsible for the unlawful

                   employment practices/actions outlined herein) are based out of Defendants’

                   Philadelphia, Pennsylvania office, located at 1635 Market St., Philadelphia,

                   Pennsylvania;

                b. Defendants’ handbook includes the 1635 Market St., Philadelphia,

                   Pennsylvania location (not the location at which Plaintiff worked in

                   California);

                c. Plaintiff received e-mails during his employment that all payments from

                   customers whom Plaintiff signed up had to be wired to the 1635 Market St.,

                   Philadelphia, Pennsylvania location;

                d. Upon information and belief, Defendants’ business operations were ran out of

                   the 1635 Market St., Philadelphia, Pennsylvania location;

                e. Plaintiff signed a contract at the beginning of his employment that indicated

                   the terms of such contract were governed by the laws of the Commonwealth

                   of Pennsylvania; and

                f. The aforesaid contract that Plaintiff signed at the beginning of his

                   employment also listed a Philadelphia, Pennsylvania address as Defendants’

                   main office.

                                          III.   PARTIES

        5.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.




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       6.      Plaintiff is an adult individual, and he has and continues to reside at the above-

captioned address.

       7.      Defendants Hire My Team, LLC, Hire My Agency, LLC, Digital Candy, LLC,

and Digital Equity, LLC (hereinafter collectively referred to as “Defendant Entities”) have and

continue to constitute a single business, venture, enterprise and conflated entanglement of

operations. Defendant Entities are properly named in this lawsuit as a joint employer, integrated

employer or single employer of Plaintiff. More specifically:

               (a) These businesses have been operated and managed by the same managers
                   and/or owners, Defendant Adetunji Thomas-Ouarcoo and Defendant Santos
                   Gonzalez;

               (b) These business names are used interchangeably depending upon project or
                   work needed for different projects or for other reasons;

               (c) While Plaintiff represented himself as an employee of Defendant Hire My
                   Team, LLC, he received payment of wages from several of these entities
                   throughout his employment, including Defendant Hire My Team, LLC,
                   Defendant Digital Candy, LLC and Defendant Digital Equity.

               (d) Plaintiff appeared on Defendant Hire My Team, LLC’s and Defendant Hire
                   My Agency, LLC’s website as an employee – specifically the Vice President
                   of Sales.

               (e) Defendant Entities overlap in finance, resources, negotiation, office space,
                   management and ownership such that they basically function as a single
                   enterprise.

       8.      Defendant Adetunji Thomas-Quarcoo (hereinafter “Defendant Parker”) is an

owner, high-level manager, and continual operator of Defendant Entities who goes by the alias

“Tom Parker.” Defendant Parker was responsible for managing the terms and conditions of

Plaintiff’s employment with Defendant Entities, including but not limited to his compensation.

       9.      Defendant Santos Gonzalez (hereinafter “Defendant Gonzalez”) is a high-level

manager, and continual operator of Defendant Entities who goes by the alias “Jay Gonzalez.”




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Defendant Gonzalez was responsible for managing the terms and conditions of Plaintiff’s

employment with Defendant Entities, including but not limited to his compensation.

        10.    At all times relevant herein, Defendants acted by and through their agents,

servants and employees, each of whom acted at all times relevant herein in the course and scope

of their employment with and for Defendants.

        11.    Every unlawful employment practice/action taken against Plaintiff were

controlled by, decided by, and orchestrated by Defendant Individuals. They are therefore named

individually in each and every cause of action below, as each statute and/or legal claim expressly

permits individual liability for high-level management and/or owners such as Defendant

Individuals.

                              IV.     FACTUAL BACKGROUND

        12.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        13.    Plaintiff was hired by Defendants in or about December of 2018.

        14.    Throughout his employment with Defendants, Plaintiff was primarily supervised

by Defendant Individuals.

        15.    At the time of his hire, Plaintiff was given the title of Director of Partnerships and

Business Development.

        16.    On or about April 1, 2019, Plaintiff was promoted to Vice President of Sales –

California Division.

        17.    Defendants are engaged in the business of web design, web development, search

engine optimization (“SEO”), and digital marketing (among other web-based services) and

Plaintiff was responsible (in both of his roles with Defendants) to sell those services.




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                         Misclassification as “Independent Contractor”

       18.       At the outset of Plaintiff’s employment with Defendants, Defendants attempted to

classify Plaintiff as an independent contractor and had him sign an agreement stating that he was

an independent contractor.

       19.       However, notwithstanding the contract Plaintiff signed at the beginning of his

employment (discussed supra), he was at all times during his employment with Defendants

misclassified as an independent contractor, when in fact he was an “employee,” as evidenced by

the following:

             a. Defendants dictated Plaintiff’s working hours. For example, Plaintiff was directed

                 when he needed to cover “LiveChats” – which included him working late nights

                 and on weekends;

             b. Defendants often times instructed and/or dictated what Plaintiff needed to work

                 on throughout the week/day;

             c. Plaintiff was provided with an organizational chart, which had him directly

                 reporting to Sarah Clay (Director of Operations – hereinafter “Clay”) and

                 indirectly reporting to Defendant Individuals;

             d. Plaintiff’s office space in California was paid for by Defendants;

             e. Plaintiff only worked for Defendants during his employment and was not

                 permitted to work for any other company (primarily due to the number of hours

                 that he was required to work for Defendants);

             f. The sign outside of Plaintiff’s office identified that the office was being used for

                 Defendants’ business (specifically Hire My Team, LLC);




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g. Plaintiff was given an email address identifying him as an employee of Defendant

   Hire My Team, LLC;

h. Plaintiff’s email signature line identified him as an employee of Defendant Hire

   My Team, LLC;

i. Plaintiff appeared on Defendant Hire My Team, LLC’s and Defendant Hire My

   Agency, LLC’s website as an employee (during and even after his employment);

j. Plaintiff was permitted to address any work concerns with Defendants’

   management;

k. Plaintiff was required to obey all directives given by Defendants’ management;

l. Defendants’ management set goals for Plaintiff and the team he supervised;

m. Defendants’ management had the ability to deny Plaintiff’s access to his accounts

   and work history;

n. Plaintiff was required to represent and hold himself out as an employee of

   Defendants when speaking to staff or clients;

o. Plaintiff was required to attend meetings and/or telephone conference calls when

   scheduled by Defendants’ management;

p. Plaintiff’s work performance was reviewed and critiqued by Defendants’

   management;

q. Plaintiff was consistently supervised by Defendants’ management;

r. Defendants’ management had the ability to dismiss Plaintiff’s employment based

   on performance and/or behavior (or other reasons); and

s. Plaintiff was deemed a “misclassified employee” by the State of California’s

   Employment      Development     Department      (“EDD”)   when     applying      for




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                    unemployment benefits after he was terminated from his employment with

                    Defendants. Specially, Christine Sung, a Tax Auditor for the Tax Branch of EDD

                    held Plaintiff to be a common law employee under Section 621(b) of the

                    California Unemployment Insurance Code (“CUIC”)1, Section 13004 of the

                    UCIC2 and Section 4304-1 of the California Code of Regulations (“CRR”) Title

                    22.3 See E-mails from Christine Sung, attached hereto as “Exhibit A.”



1
    Section 621(b) of the CUIC provides that “Employee” means all of the following: . . .

           (b) Any individual who, under the usual common law rules applicable in determining the employer-
           employee relationship, has the status of an employee.

2
    Section 13004 of the UCIC states:
           ‘Employee’ means a resident individual who receives remuneration for services performed within or
           without this state or a nonresident individual who receives remuneration for services performed
           within this state and includes an officer, employee, or elected official of the United States, a state,
           territory, or any political subdivision thereof, or any agency or instrumentality of any one or more of
           the foregoing. ‘Employee’ also includes an officer of a corporation.
           Whether an individual provides equipment in the performance of services for remuneration shall not
           be considered in a determination of whether that individual is an employee.
3
    Section 4304-1 of the California Code of Regulations (“CRR”) Title 22 provides in relevant part:

           Whether an individual is an employee for the purposes of Sections 621(b) and 13020 of the code will
           be determined by the usual common law rules applicable in determining an employer-employee
           relationship. Under those rules, to determine whether one performs services for another as an
           employee, the most important factor is the right of the principal to control the manner and means of
           accomplishing a desired result. If the principal has the right to control the manner and means of
           accomplishing the desired result, whether or not that right is exercised, an employer-employee
           relationship exists. Strong evidence of that right to control is the principal's right to discharge at will,
           without cause.
                    (a) If it cannot be determined whether the principal has the right to control the manner and
                    means of accomplishing a desired result, the following factors will be taken into
                    consideration:
                               (1) Whether or not the one performing the services is engaged in a separately
                               established occupation or business.
                               (2) The kind of occupation, with reference to whether, in the locality, the work is
                               usually done under the direction of a principal without supervision.
                               (3) The skill required in performing the services and accomplishing the desired
                               result.
                               (4) Whether the principal or the person providing the services supplies the
                               instrumentalities, tools, and the place of work for the person doing the work.
                               (5) The length of time for which the services are performed to determine whether
                               the performance is an isolated event or continuous in nature.
                               (6) The method of payment, whether by the time, a piece rate, or by the job.


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       20.     Based on the foregoing and for other reasons, Plaintiff asserts that he was an

employee of Defendants and therefore was deprived of benefits to which an employee would

normally be entitled, including but not limited to having income reported to Social Security for

retirement and benefits, health benefits, and deprivation of his own work earnings (including

overtime compensation – discussed infra).

                                 Defendants’ Overtime Violations

       21.     Because Plaintiff was misclassified as an independent contractor, he was paid

varying lump sums on a weekly basis that Defendants deemed “commissions” and/or bonuses

and never kept proper track of the amount of hours that Plaintiff worked during any given week.

       22.     Additionally, some weeks during his employment with Defendants, Plaintiff was

paid zero dollars.

       23.     Plaintiff was also not provided with weekly paychecks providing a breakdown of

what was considered commissions vs. bonuses.

       24.     Instead, Defendants wired Plaintiff’s weekly wages to his bank account and did

not deduct federal or state taxes.




                       (7) Whether or not the work is part of the regular business of the principal, or
                       whether the work is not within the regular business of the principal.
                       (8) Whether or not the parties believe they are creating the relationship of employer
                       and employee.
                       (9) The extent of actual control exercised by the principal over the manner and
                       means of performing the services.
                       (10) Whether the principal is or is not engaged in a business enterprise or whether
                       the services being performed are for the benefit or convenience of the principal as
                       an individual.

               (b) The factors enumerated in (a) above are indicia of the right to control. Where there is
               independent evidence that the principal has the right to control the manner and means of
               performing the service in question it is not necessary to consider the above enumerated
               factors. When those factors are considered, a determination of whether an individual is an
               employee will depend upon a grouping of factors that are significant in relationship to the
               service being performed.



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       25.     During the course of Plaintiff’s employment with Defendants, he was at all times

a non-exempt employee who should have been entitled to overtime wages (at a rate of time and

one half his average regular hourly rate).

       26.     Plaintiff worked an obscene amount of hours for Defendants during his

approximate 7-month tenure, often times working 12 hours a day, 6-7 days per week (for a total

of approximately 72-84 hours per week).

       27.     At no point in time was Plaintiff ever paid overtime compensation under federal

or Pennsylvania state law (as required for non-exempt employees).

       28.     Furthermore, during the weeks that Plaintiff was paid zero wages or very minimal

wages, Defendants also violated federal and Pennsylvania state minimum wages laws by failing

to pay him at least $7.25 per hour for each hour that he worked.

       29.     At no point in time during his employment with Defendants did Plaintiff qualify

as an exempt employee under the Executive, Professional or Administrative exemptions

provided for under the FLSA or Pennsylvania Minimum Wage Act.

       30.     For example, one element required to fall under any of the above three

exemptions, Plaintiff must have been compensated on a salary basis – which he was not, as

Plaintiff’s pay varied every week, ranging from zero dollars to upwards of $3,000.00.

       31.     Plaintiff was also not an outside sales person (but rather performed inside sales)

and therefore did not qualify as an exempt employee under the FLSA or the Pennsylvania

Minimum Wage Act for those reasons.

       32.     Furthermore, while employed with Defendants, Defendants never designated

Plaintiff as an employee who fell under any exemption provided for by the FLSA or the




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Pennsylvania Minimum Wage Act, as Defendants consistently misclassified him as an

independent contractor from the inception of his employment until his termination.

            33.      All of Defendants’ actions as aforesaid are without question willful, intentional

and in blatant disregard for state and federal laws, as evidenced by:

                     a. Defendants intentionally misclassifying Plaintiff as an independent contractor

                          to avoid state and federal wage and hour obligations;

                     b. Defendants failing to pay Plaintiff overtime compensation for all hours that he

                          worked in excess of 40 hours per week;

                     c. Defendants often times failing to pay Plaintiff enough wages and/or

                          withholding/deducting his pay to the point where Plaintiff was being paid

                          below the federal and state mandated minimum wage; and

                     d. Defendants failing to keep proper record of the number of hours that Plaintiff

                          worked in any given week.

            34.      Plaintiff is therefore owed back pay and liquidated damages for Defendants

willful failure to abide by federal and state overtime and minimum wage obligations.4


4
     See, e.g., Solis v. Min Fang Yang, 345 Fed. Appx. 35, 38 (6th Cir. 2009) (affirming award of liquidated damages
    explaining “under the Act, liquidated damages are compensation, not a penalty or punishment, and no special showing is
    necessary for the awarding of such damages. Rather, they are considered the norm and have even been referred to by this
    court as mandatory”); Gayle v. Harry's Nurses Registry, Inc., 594 Fed. Appx. 714, 718 (2d Cir. 2014) (affirming award of
    liquidated damages explaining there is an automatic “presumption” of liquidated damages and “[d]ouble damages are the
    norm, single damages the exception,” as the burden to avoid liquidated damages is a “difficult burden”); Haro v. City of
    Los Angeles, 745 F.3d 1249, 1259 (9th Cir. 2014) (affirming award of liquidated damages explaining they are the “norm”
    and “mandatory” unless the employer can establish the very “difficult burden” of subjective and objective attempts at
    FLSA compliance); Chao v. Barbeque Ventures, LLC, 547 F.3d 938, 942 (8th Cir. 2008) (affirming award of liquidated
    damages explaining that the employer mistakenly argues its non-compliance was not willful, misunderstanding the high
    burden to show affirmative steps of attempted compliance and research of the FLSA and separately that its diligence and
    belief in non-payment of overtime was also objectively reasonable.); Chao v. Hotel Oasis, Inc., 493 F.3d 26, 35 (1st Cir.
    2007) (affirming award of liquidated damages explaining that they will always be considered the “norm” in FLSA cases);
    Lockwood v. Prince George's County, 2000 WL 864220, at *6 (4th Cir. 2000) (affirming award of liquidated damages
    explaining they are the “norm” and that an employer may not take an ostrich-like approach and refuse to research its
    obligations under the FLSA and to objectively explain why it failed to comply with the FLSA); Uphoff v. Elegant Bath,
    Ltd., 176 F.3d 399, 405 (7th Cir. 1999)(reversing the district court for not awarding liquidated damages, as doubling
    unpaid overtime is the rule, not an exception); Nero v. Indus. Molding Corp., 167 F.3d 921, 929 (5th Cir. 1999) (affirming
    award of liquidated damages, as there is a presumption of entitlement to liquidated damages which are the norm).


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                          Failure to Pay Commissions and Bonuses

       35.     At the beginning of Plaintiff’s employment with Defendants, Defendants agreed

to pay Plaintiff the following commissions:

                   i. “6% commission on anything Plaintiff sold”;

                  ii. “8% commission on any deal after $30K sold in a week”; and

                  iii. “10% commission on any of Gino's relationships.”

       36.     Shortly after commencing his employment with Defendants, Defendants and

Plaintiff agreed that his commission structure would be modified to where Plaintiff would

receive 10% base commission and anything he sold and then 12% commission on anything he

sold above $15,000.00 in revenue per week.

       37.     Throughout the course of his employment with Defendants, Plaintiff was also

promised additional commissions if he sold certain service packages (presumably as an incentive

for Plaintiff to sell those particular packages). For example, Plaintiff was promised in writing

that he would receive 20% commission if he sold Platinum or Global Packages and had

customers pay in full via wire transfer to Defendants’ Philadelphia, PA location.

       38.     In June of 2019, Plaintiff was sent an e-mail indicating that Defendants would

also pay him 20% commission on any “wire for PIF [paid in full] or deposits.”

       39.     On or about April 1, 2019, Plaintiff was promoted to Vice President of Sales –

California Division. Along with his promotion, Plaintiff was promised by Defendant Individuals

that he would received a 1% override on any revenue that Defendant received per week (to be

capped at $10,000 per month). Defendant Parker and Defendant Gonzalez later changed this

promise to a 1% override on any revenue that Defendant’s California division received per week.




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       40.     In addition to the aforesaid commissions promised to Plaintiff by Defendants,

Plaintiff was also promised various incentive bonuses if he and/or his team met certain goals.

The monetary amount guaranteed for these bonuses ranged from $200.00 to $500.00+ per week.

       41.     Despite all of Defendants promises and agreements to pay Plaintiff various

commissions, overrides, and bonuses, Plaintiff was never paid all commissions, overrides, and/or

bonuses that he was entitled to.

       42.     In fact, there were a few occasions where Plaintiff was paid zero dollars or very

minimal commissions/bonuses despite (1) Defendants’ promise to pay him a 1% override on any

revenue generated by his division per week; (2) Plaintiff making multiple sales on a weekly

basis; (3) Plaintiff meeting certain goals for which Defendants promised to pay bonuses.

       43.     Plaintiff often times questioned and complained to Defendants’ management

about his pay and would indicate that he believed Defendants had not paid him properly under

the promises and/or agreements set forth by Defendants’ management (regarding commissions,

bonuses, and override).

       44.     Rather than rectify his concerns by paying him the wages he was entitled to,

Defendants’ management would instead give Plaintiff the “run around,” tell Plaintiff the

remainder of his wages would be coming soon (and then still never pay him), blame the lack of

wages that Plaintiff received on refunded sales, and/or simply ignore Plaintiff’s concerns.

       45.     On or about July 5, 2019, shortly following his last complaints and/or expressed

concerns regarding non-payment of wages (including commissions, bonuses, and overrides),

Plaintiff was terminated from his employment with Defendants.




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        46.    Defendants first claimed in an email from Defendant Parker that Plaintiff was

being terminated for his “lack of respect” and “growing negativity” towards Defendant Parker,

Defendant Gonzalez, and Clay.

        47.    Later in a post made by Defendant Parker online, Defendant Parker claimed that

Plaintiff was terminated because of his criminal record – which is completely false as Plaintiff

has correspondence from Defendant Parker that he didn’t search Plaintiff’s criminal record until

after Plaintiff had already been terminated.

        48.    To date, Plaintiff has still not been fully paid for all of his promised commissions,

overrides, or bonuses.

                                            Count I
        Violations of the Fair Labor Standards Act (“FLSA” - 29 U.S.C. §§ 201 et. seq.)
                           (Overtime and Minimum Wage Violations)
                                   - Against All Defendants -

        49.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        50.    At all times relevant herein, Defendants, have and continue to be, “employer[s]”

within the meaning of the FLSA.

        51.    The FLSA requires covered employers, such as Defendants, to minimally

compensate their “non-exempt” employees, such as Plaintiff, at a rate of 1.5 times the

employee’s regular rate of pay for each overtime hour that the employee works in excess of 40

hours in a workweek.

        52.    At all times during his employment with Defendants, Plaintiff was misclassified

as an independent contract, when in reality Plaintiff was a non-exempt “employee” within the

meaning of the FLSA.




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        53.    Defendants knew that Plaintiff was a “non-exempt” employee within the meaning

of the FLSA and instead intentionally misclassified him to avoid federal and state wage and hour

obligations (and tax obligations).

        54.    Plaintiff consistently worked well over 40 hours per week while employed with

Defendants; however, Defendants failed to pay Plaintiff proper overtime compensation for all

hours that he worked over 40 hours in one week.

        55.    Throughout Plaintiff’s employment with Defendants, Defendants also improperly

withheld and deducted Plaintiff’s pay to the point where he was compensated below the

minimum wage (for each hour that he worked) in many weeks.

        56.    As a result of Defendants’ failure to pay Plaintiff the overtime compensation due

him (and even minimum wage some weeks), Defendants violated the FLSA and caused Plaintiff

to suffer damages in the form of unpaid overtime and minimum wage compensation.

        57.    Plaintiff is owed substantial monies in unpaid overtime and minimum wage

compensation by Defendants and these actions as aforesaid constitute violations of the FLSA.

                                          Count II
               Violations of the Pennsylvania Minimum Wage Act (“PMWA”)
                         (Overtime and Minimum Wage Violations)
                                  - Against All Defendants -

        58.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        59.    Defendants’ failure to pay overtime and minimum wage in the aforesaid manners

also constitutes violations of the PMWA.

                                        Count III
           Violations of the Pennsylvania Wage and Collection Law (“PWCL”)
   (Non-payment of full wages / Unlawful Wage Retention/ Unlawful Wage Withholding)
                                - Against All Defendants -




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        60.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        61.      A substantial portion of Plaintiff’s wages (commissions, bonuses, and overrides)

were illegally withheld and not paid to Plaintiff during his employment, despite Defendants’

expressed agreements and/or promises to pay said wages.

        62.      Defendants’ actions as aforesaid constitute unlawful withholding, unlawful

retention and/or nonpayment of wages under the PCWL.

                                           Count IV
          Violation of Title 9 of the Philadelphia Code, the Wage Theft Ordinance
           (Non-payment of full wages / Unlawful Wage Retention / Wage Theft)
                              - Against Defendant Entities Only -

        63.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        64.      Plaintiff specifically expressed concerns about wage withholdings, nonpayment of

full commissions, bonuses, and overrides (i.e. wages under the PWPCL).

        65.      The unlawful retention of funds by Defendants for their own benefit at Plaintiff’s

detriment constitutes wage theft under Title 9 of the Philadelphia Code (“the Ordinance”).

        66.      Moreover, Plaintiff’s retaliatory termination constitutes unlawful retaliation under

the Ordinance.

                                              Count V
                                        Breach of Contract
                                       Against All Defendants

        67.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.




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        68.     Defendants entered into oral and written agreements with Plaintiff to pay him

certain commissions and bonuses, as well as a 1% override on all revenue generated by his

division in exchange for Plaintiff’s services.

        69.     While Plaintiff performed the services agreed on by Defendants and Plaintiff,

Defendants failed to pay Plaintiff all commissions, bonuses and overrides that were agreed upon

and/or promised by Defendants.

        70.     As a result of Defendants’ failure to pay all commissions, bonuses and overrides

agreed upon (in writing and orally) by Defendants and Plaintiff, Defendants are in breach of

contract.

                                            Count VI
                                    New Jersey Common Law
                           (Promissory Estoppel / Detrimental Reliance)
                                    - Against All Defendants-

        71.     The averments of the foregoing paragraphs are hereby incorporated by reference

as if set forth fully herein.

        72.     Defendants made multiple promises to Plaintiff, including but not limited to (1)

that they would pay Plaintiff various commissions; (2) that they would pay Plaintiff for bonuses

earned (and owed to him); (3) that it would pay Plaintiff a 1% override on any revenue generated

by his division per week.

        73.     To his detriment, Plaintiff continued to perform work for Defendants in reliance

on Defendants' aforementioned promises; however, Defendants failed to pay Plaintiff everything

promised to him (as discussed supra).

        74.     Defendants should have reasonably foreseen that their aforementioned promises

to Plaintiff would induce Plaintiff to stay in his position and continue to perform the services

requested by him at the level of performance required and expected to be paid under those



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promises.

        75.      Injustice will result if Plaintiff is not compensated for the commissions, bonuses,

and override promised to Plaintiff by Defendants.

        76.      These allegations as aforesaid constitute violations of Pennsylvania’s common

law doctrine of Promissory Estoppel/Detrimental Reliance.

                                             Count VII
                                     Fraud - Misrepresentation
                                     - Against All Defendants -

        77.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        78.      Defendants willfully and fraudulently misclassified and represented to Plaintiff

that he was an independent contractor who was not entitled to non-exempt wages under the

PMWA, when in fact Plaintiff was a non-exempt employee entitled to such wages under the

PMWA.

        79.      Defendants willfully and fraudulently misclassified Plaintiff’s earnings as non-

employee income for the purpose of avoiding taxes.

        80.      Plaintiff relied to his detriment on Defendants’ representation that he was an

independent contractor who was not entitled to overtime or minimum wages under the PMWA.

        81.      As a result of his reliance on Defendants’ fraudulent representation that Plaintiff

was an independent contractor who was not entitled to employee wages under the PMWA,

Plaintiff suffered harm in the form of the following damages:

              a. Defendants did not withhold any taxes on Plaintiff’s behalf;




                                                  18
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            b. Because Defendants incorrectly classified Plaintiff as an independent contractor,

               Plaintiff was subjected to greater tax liability, paying both his and Defendants’

               share of FICA, FUTA, and other taxes;

            c. As a direct result of Defendants having incorrectly classified Plaintiff as an

               independent contractor, Defendants made no unemployment tax payments on

               Plaintiff’s wages;

            d. As a direct result of Defendants’ having misclassified Plaintiff as a 1099

               independent contractor, Defendants made no social security contributions on

               Plaintiff’s behalf. Consequently, Plaintiff’s retirement eligibility is less than it

               would be had Defendants not fraudulently misclassified him as a 1099

               independent contractor instead of a non-exempt employee; and

            e. As a result of Defendants’ misclassification of Plaintiff as a 1099 independent

               contractor, Plaintiff was not entitled to receive any other benefits through

               Defendants, including but not limited health benefits, 401k benefits, or other

               employee benefits.

       WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

       A.      Defendants are to compensate Plaintiff, reimburse Plaintiff and make Plaintiff

whole for any and all pay and benefits Plaintiff would have received had it not been for

Defendants’ illegal actions, including but not limited to past lost earnings, future lost earnings,

salary, pay increases, overtime, bonuses, medical and other benefits, training, promotions,

pension, and seniority. Plaintiff should be accorded those benefits illegally withheld from the

date he first suffered unlawful payment practices, retaliation, and discrimination at the hands of

Defendants until the date of verdict;




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       B.       Plaintiff is to be awarded liquidated damages, as permitted by applicable law(s)

alleged asserted herein, in an amount believed by the Court or trier of fact to be appropriate to

punish Defendants for their willful, deliberate, malicious and outrageous conduct and to deter

Defendants or other employers from engaging in such misconduct in the future;

       C.       Plaintiff is to be accorded any and all other equitable and legal relief as the Court

deems just, proper and appropriate including for emotional distress;

       D.       Plaintiff is to be awarded the costs and expenses of this action and reasonable

legal fees as provided by applicable federal and state law;

       E.       Any verdict in favor of Plaintiff is to be molded by the Court to maximize the

financial recovery available to Plaintiff in light of the caps on certain damages set forth in

applicable federal law; and

       F.       Plaintiff’s claims are to receive a trial by jury to the extent allowed by applicable

law. Plaintiff has also endorsed this demand on the caption of this Complaint in accordance with

Federal Rule of Civil Procedure 38(b).



                                                      Respectfully submitted,

                                                      KARPF, KARPF, & CERUTTI, P.C.


                                              By:
                                                      Ari R. Karpf, Esq.
                                                      3331 Street Road
                                                      Two Greenwood Square, Suite 128
                                                      Bensalem, PA 19020
Date: March 31, 2020                                  (215) 639-0801




                                                 20
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---------- Forwarded message ---------
From: Sung, Christine@EDD <Christine.Sung@edd.ca.gov>
Date: Thu, Aug 29, 2019 at 2:36 PM
Subject: wages allowed
To: Gino Fracchiolla <ginofracchiolla79@gmail.com>



Hi Gino:

I closed the case and allowed wages $23,771.80 for 19-1. I held you to be a common law
employee under Sec. 621(b) & 13004 CUIC & Sec. 4304-1 CCR, Title 22. You should receive
something in writing from UI office regarding your claim/benefit within 10 days.



Have a nice weekend!



Regards,



Christine Sung

Tax Auditor




Tax Branch

Santa Fe Springs Area Audit Office, ARU #708

562-903-2102 Desk

562-903-4064 Office

916-449-1700 Fax

csung@edd.ca.gov




State of California

Employment Development Department
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10330 Pioneer Blvd., Suite 150, Santa Fe Springs, CA 90670

www.edd.ca.gov




Our Business is Your SuccessSM
                         Case 2:20-cv-01684-WB Document 1 Filed 03/31/20 Page 25 of 27




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                             Case 2:20-cv-01684-WB   Document
                                                UNITED           1 Filed
                                                       STATES DISTRICT   03/31/20 Page 26 of 27
                                                                       COURT
                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                           DESIGNATION FORM
                     (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                       PMR=`çêçå~Çç=^îÉåìÉI=içåÖ=_É~ÅÜI=`^=VMUNQ
Address of Plaintiff: ______________________________________________________________________________________________

                       NSPR=j~êâÉí=píêÉÉíI=mÜáä~ÇÉäéÜá~I=m^=NVNMP
Address of Defendant: ____________________________________________________________________________________________

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Place of Accident, Incident or Transaction: ___________________________________________________________________________



RELATED CASE, IF ANY:

Case Number: ______________________________                      Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No X
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No X
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                           Yes                    No X
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No X
       case filed by the same individual?

I certify that, to my knowledge, the within case              is / X is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
           PLPNLOMOM
DATE: __________________________________                      __________________________________________                               ARK2484 / 91538
                                                                                                                               ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                       B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                        1.    Insurance Contract and Other Contracts
       2.     FELA                                                                                2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                           3.    Assault, Defamation
       4.     Antitrust                                                                           4.    Marine Personal Injury
       5.     Patent                                                                              5.    Motor Vehicle Personal Injury
=u     6.     Labor-Management Relations                                                          6.    Other Personal Injury (Please specify): _____________________
       7.     Civil Rights                                                                        7.    Products Liability
       8.     Habeas Corpus                                                                       8.    Products Liability –Asbestos
       9.     Securities Act(s) Cases                                                             9.    All other Diversity Cases
       10.    Social Security Review Cases                                                              (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                           ARBITRATION CERTIFICATION
                                                   (

     Ari R. Karpf
I, ____________________________________________ , counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
     X
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


           PLPNLOMOM
DATE: __________________________________                      _____________________________________ _____                            ARK2484 / 91538
                                                                                                                              ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 ( /2018)
                                     Case 2:20-cv-01684-WB Document 1 Filed 03/31/20 Page 27 of 27
JS 44 (Rev. 06/17)                                                           CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                              DEFENDANTS
    co^``eflii^I=dfkl                                                                                          efob=jv=qb^jI=ii`I=bq=^iK

    (b) County of Residence of First Listed Plaintiff                  içë=^åÖÉäÉë                               County of Residence of First Listed Defendant                mÜáä~ÇÉäéÜá~
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                        (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                 NOTE:        IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                              THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                       Attorneys (If Known)
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II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                        III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintif                                      f
                                                                                                         (For Diversity Cases Only)                                               and One Box for Defendant)
❒ 1    U.S. Government               u’ 3     Federal Question                                                                     PTF             DEF                                            PTF      DEF
          Plaintiff                              (U.S. Government Not a Party)                      Citizen of This State          ’ 1             ’ 1     Incorporated or Principal Place         ’ 4     ’ 4
                                                                                                                                                               of Business In This State

❒ 2    U.S. Government                   ’ 4 Diversity                                              Citizen of Another State            ’ 2         ’ 2    Incorporated and Principal Place      ’ 5      ’ 5
          Defendant                             (Indicate Citizenship of Parties in Item III)                                                                  of Business In Another State

                                                                                                    Citizen or Subject of a             ’ 3         ’ 3    Foreign Nation                        ’ 6      ’ 6
                                                                                                      Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                    Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                  TORTS                                FORFEITURE/PENALTY                          BANKRUPTCY                      OTHER STATUTES
❒   110 Insurance                         PERSONAL INJURY                 PERSONAL INJURY           ❒ 625 Drug Related Seizure                ’   422 Appeal 28 USC 158          ❒ 375 False Claims Act
❒   120 Marine                       ’    310 Airplane                  ❒ 365 Personal Injury -           of Property 21 USC 881              ’   423 Withdrawal                 ’ 376 Qui Tam (31 USC
❒   130 Miller Act                   ’    315 Airplane Product                Product Liability     ❒ 690 Other                                       28 USC 157                        3729(a))
❒   140 Negotiable Instrument                  Liability                ❒ 367 Health Care/                                                                                      ❒ 400 State Reapportionment
❒   150 Recovery of Overpayment      ’    320 Assault, Libel &                Pharmaceutical                                                      PROPERTY RIGHTS               ❒ 410 Antitrust
        & Enforcement of Judgment              Slander                        Personal Injury                                                 ❒ 820 Copyrights                  ❒ 430 Banks and Banking
❒   151 Medicare Act                 ’    330 Federal Employers’              Product Liability                                               ❒ 830 Patent                      ❒ 450 Commerce
❒   152 Recovery of Defaulted                  Liability                ❒ 368 Asbestos Personal                                               ❒ 835 Patent - Abbreviated        ❒ 460 Deportation
        Student Loans                ’    340 Marine                          Injury Product                                                         New Drug Application       ❒ 470 Racketeer Influenced and
        (Excludes Veterans)          ’    345 Marine Product                  Liability                                                       ❒ 840 Trademark                          Corrupt Organizations
❒   153 Recovery of Overpayment                Liability                 PERSONAL PROPERTY                          LABOR                        SOCIAL SECURITY                ❒ 480 Consumer Credit
        of Veteran’s Benefits        ’    350 Motor Vehicle             ❒ 370 Other Fraud           u❒    710 Fair Labor Standards            ’ 861 HIA (1395ff)                ❒ 490 Cable/Sat TV
❒   160 Stockholders’ Suits          ’    355 Motor Vehicle             ❒ 371 Truth in Lending                 Act                            ❒ 862 Black Lung (923)            ❒ 850 Securities/Commodities/
❒   190 Other Contract                        Product Liability         ❒ 380 Other Personal        ❒     720 Labor/Management                ’ 863 DIWC/DIWW (405(g))                  Exchange
❒   195 Contract Product Liability   ’    360 Other Personal                  Property Damage                  Relations                      ❒ 864 SSID Title XVI              ❒ 890 Other Statutory Actions
❒   196 Franchise                             Injury                    ❒ 385 Property Damage        ❒     740 Railway Labor Act              ’ 865 RSI (405(g))                ❒ 891 Agricultural Acts
                                     ’    362 Personal Injury -               Product Liability       ’   751 Family and Medical                                                ❒ 893 Environmental Matters
                                              Medical Malpractice                                              Leave Act                                                        ❒ 895 Freedom of Information
        REAL PROPERTY                       CIVIL RIGHTS                 PRISONER PETITIONS         ❒     790 Other Labor Litigation            FEDERAL TAX SUITS                       Act
❒   210 Land Condemnation            ❒    440 Other Civil Rights          Habeas Corpus:            ❒     791 Employee Retirement             ❒ 870 Taxes (U.S. Plaintiff       ❒ 896 Arbitration
❒   220 Foreclosure                  ❒    441 Voting                    ❒ 463 Alien Detainee                  Income Security Act                    or Defendant)              ❒ 899 Administrative Procedure
❒   230 Rent Lease & Ejectment       ❒    442 Employment                ❒ 510 Motions to Vacate                                               ❒ 871 IRS—Third Party                    Act/Review or Appeal of
❒   240 Torts to Land                ❒    443 Housing/                        Sentence                                                               26 USC 7609                       Agency Decision
❒   245 Tort Product Liability                Accommodations            ❒ 530 General                                                                                           ❒ 950 Constitutionality of
❒   290 All Other Real Property      ❒    445 Amer. w/Disabilities -    ❒ 535 Death Penalty               IMMIGRATION                                                                  State Statutes
                                              Employment                  Other:                    ❒ 462 Naturalization Application
                                     ❒    446 Amer. w/Disabilities -    ❒ 540 Mandamus & Other      ❒ 465 Other Immigration
                                              Other                     ❒ 550 Civil Rights                Actions
                                     ❒    448 Education                 ❒ 555 Prison Condition
                                                                        ❒ 560 Civil Detainee -
                                                                              Conditions of
                                                                              Confinement

V. ORIGIN (Place an “X” in One Box Only)
u
’ 1 Original    ❒ 2 Removed from                            ❒    3     Remanded from            ❒ 4 Reinstated or         ’     5 Transferred from  ❒ 6 Multidistrict   ❒ 8 Multidistrict
        Proceeding                State Court                          Appellate Court              Reopened                      Another District         Litigation -     Litigation -
                                                                                                                            (specify)                      Transfer         Direct File
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                            cip^=EOVrp`OMNF
VI. CAUSE OF ACTION                         Brief description of cause: sáçä~íáçåë=çÑ=íÜÉ=cip^I=íÜÉ=m^=jáåáãìã=t~ÖÉ=^ÅíI=íÜÉ=m^=t~ÖÉ=m~óãÉåí=C=`çääÉÅíáçå=i~ïI=qáíäÉ=V=çÑ=íÜÉ=mÜáä~=
                                                                        `çÇÉI=íÜÉ=t~ÖÉ=qÜÉÑí=lêÇáå~åÅÉI=~åÇ=çíÜÉê=~ééäáÅ~ÄäÉ=ëí~íÉ=ä~ïEëFK=
VII. REQUESTED IN     ❒                          CHECK IF THIS IS A CLASS ACTION                          DEMAND $                                        CHECK YES only if demanded in complaint:
     COMPLAINT:                                  UNDER RULE 23, F.R.Cv.P.                                                                                 JURY DEMAND:        u’ Yes      ’ No
VIII. RELATED CASE(S)
                                               (See instructions):
      IF ANY                                                            JUDGE                                                                     DOCKET NUMBER
DATE                                                                      SIGNATURE OF ATTORNEY OF RECORD
            PLPNLOMOM
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                      APPLYING IFP                                      JUDGE                               MAG. JUDGE

                  Print                                 Save As...                                                                                                                     Reset
